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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


DALE and JENNIFER HARRIS, as
Parents and next friend of their minor son,
RNH,
       Plaintiffs,

v.
                                                           C.A. NO.: 1:24-CV-12437-WGY
MARGARET ADAMS, KATHRYN
ROBERTS, RICHARD SWANSON,
NICOLE NOSEK, SUSAN PETRIE,
ANDREW HOEY, KAREN SHAW,
JOHN BUCKEY, and TOWN OF
HINGHAM SCHOOL COMMITTEE ,
       Defendants.


          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                    PURSUANT TO FED.R.CIV.P. 12(B)(6)

       The defendants, Margaret Adams, Kathryn Roberts, Richard Swanson, Nicole Nosek,

Susan Petrie, Andrew Hoey, Karen Shaw, John Buckey and Town of Hingham School Committee

(“Defendants”), hereby move this Honorable Court to dismiss plaintiffs’ Complaint pursuant to

Fed. R. Civ. P. Rule 12(b)(6) for failure to state a claim upon which relief can be granted.

       In further support of this Motion, the defendants submit a Memorandum of Law.

       WHEREFORE, the defendants, Margaret Adams, Kathryn Roberts, Richard Swanson,

Nicole Nosek, Susan Petrie, Andrew Hoey, Karen Shaw, John Buckey and Town of Hingham

School Committee, respectfully request that this Honorable Court allow their Motion to Dismiss

and dismiss plaintiffs’ Complaint against them with prejudice pursuant to Fed. R. Civ. P. 12(b)(6)

for the reasons set forth in the attached Memorandum of Law.
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                                               Defendants,
                                               Margaret Adams, Kathryn Roberts, Richard
                                               Swanson, Nicole Nosek, Susan Petrie, Andrew
                                               Hoey, Karen Shaw, John Buckey and Town of
                                               Hingham School Committee,
                                               By Their Attorneys,

                                               /s/ Gareth W. Notis

                                               Gareth W. Notis, BBO #637814
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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants on October 8, 2024


 /s/ Gareth W. Notis
